Welcome to the Official Site of the Illinois Courts


  
  
  
  
  
  &nbsp;
  
  
  Your browser does not support script
    
  
    
  	
	Loading

    
  
   

 

  
 
 
	    	
    	
		 
		  
	  
 
 
 
    
 
  
  
  
 
  





	
	Quick Links
	
	Supreme Court
		Opinions
			Docket
			Anticipated Opinions
			Orders and Announcements
			Leave to Appeal Dispositions
			Rules
			 Oral Argument Calendars
			Oral Argument Audio &amp; Video
			Judicial Events
			Supreme Court Electronic Filing Service
	        Extended Media Coverage Pilot Programs
		    Annual Report of the Illinois Courts
	        E-Pay Law License Fee
	    Appellate Court
		Opinions
		   	Rule 23 Orders
		   	Oral Argument Calendars
		    Oral Argument Audio
		Circuit Court
		Chief Judges &amp; Administrative Staff
			Judges &amp; Associate Judges
        
		Employment Opportunities
	    Legal Community	
Standardized Forms
 
  Supreme Court Rules Committee Public Hearings
  Illinois Pattern Jury Instructions-Civil - 700.12VA - approved September 14, 2012 
  Illinois Pattern Jury Instructions-Criminal - 1.01, 14.05 &amp; 14.06 - approved  January 24, 2014 
  Bar Admission Ceremonies 
  Illinois Code of Judicial Conduct
  Illinois Rules of Evidence
  Illinois Rules of Professional Conduct of 2010 
  Illinois Supreme Court Historic Preservation Commission 
  Minimum Continuing Legal Education Board (MCLE)
  Commission on Professionalism 
  Attorney Registration Information (ARDC site)
  Rules of Procedure for the Board of Admission to the Bar and the Committee on Character and Fitness (Illinois Board of Admissions to the Bar site)
  Bar Exam &amp;  Admission (Illinois Board of Admissions to the Bar site)
  Resolution Systems Institute  (RSI site) 
  Pro Bono Attorney Information (Illinois Pro Bono site) 
  Standard Interrogatories (Illinois State Bar Association site) 
  Lawyers' Assistance Program (Lawyers' Assistance site)  
  Lawyers Trust Fund (Lawyers Trust Fund of Illinois site) 
  List Services Available 



	

	Latest News
	
	


  
  
Chief Justice Rita B. Garman  
welcomes you to the
Illinois Courts Website
(Video Message)
  


 Illinois &amp; U.S. Judiciaries
 		   
  
      
    Illinois Court System
      United States Websites 
    &nbsp;


Judicial Links &amp; Research

Illinois Circuit Courts
  Bar &amp; Miscellaneous Associations
  Law Schools in Illinois
  State of Illinois Websites
  U.S. Government Websites
  State University Websites
  Legal Research
  Illinois Amber Alert 
  National Center for Missing &amp; Exploited Children
 
Notifications and Services



   Chicago
   Springfield
  Mt. Vernon
  
   
  
 
  Illinois Courts Twitter Feed: 
  
List Mail Services Page:  
    
    
      
  
  Make the Illinois Courts your homepage
  	
	


  E-Business Online Services



        ELECTRONICFILING
			
				  	  
      E-GUILTY - 
      PLEAD &amp; PAY YOUR TRAFFIC TICKET        
        
	          	  	  
    
  Citizen Self-Help

Court Forms
           Supreme Court Policy on Access for Persons with Disabilities (Supreme Court only) 
           Petit Juror Handbook
           Grand Juror Handbook
           Consumers' Guide to Legal Help (American Bar Association site) 
           Find 
           an Illinois Attorney (Illinois Lawyer Finder site)
           A Guide to Illinois Civil Appellate Procedure (Appellate Lawyers Association site) 
           Illinois 
           Child Support Information (Illinois Child Support site)
           Has my 
           Attorney been disciplined? (ARDC Site)
           Can't Afford a Lawyer? (Illinois Legal Aid site) 
           Becoming an Adult:&nbsp; Legal Rights &amp; Responsibilities at Age 18 (Illinois Lawyer Finder site)
            Parents Guide to Juvenile Court Abuse &amp; Neglect Proceedings (Illinois Lawyer Finder site)
           Laws Protecting Military Personnel  (Illinois Lawyer Finder site)  
      
Education


 The Third Branch - A Chronicle of the Illinois Supreme Court
           Judicial Education
           Student Learning Center
           About the Courts in Illinois
           Judicial Speakers Bureau
           How Cases Proceed Thru the Courts
           How the Courts are Funded
           U.S. Constitution (Legislative Reference Bureau)  
           Illinois Constitution (Legislative Reference Bureau) 
           Understanding the Illinois Constitution (Illinois State Bar Association site)
           Law Day Information (Illinois State Bar Association site) 
           Mock Trial Resources for Teachers (Illinois State Bar Association site)
       
 &nbsp;
  
Copyright (c) 
State of Illinois |
Privacy Notice | Endorsement Notice | Webmaster
Your browser does not support script



